                           1                                        EXHIBIT C

                           2                       EXPENSE SUMMARY FOR THE PERIOD
                                                 FROM APRIL 1, 2020 THROUGH APRIL 30, 2020
                           3

                           4                                           None.

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Morrison & Foerster LLP

San Francisco, CA 94105




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   425 Market Street




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                          Case: 19-30088    Doc# 7457-3   Filed: 05/21/20   Entered: 05/21/20 16:59:22   Page 1
                                                                   of 1
